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 9                         UNITED STATES DISTRICT COURT
10                    CENTRAL DISTRICT OF CALIFORNIA
11                                              Case No.:
     DESIGN COLLECTION, INC., a
12   California corporation,
                                                   PLAINTIFF’S COMPLAINT FOR
13                                                 COPYRIGHT INFRINGEMENT
     Plaintiff,
14
     vs.                                           Jury Trial Demanded
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16   LNE, LLC, individually and d/b/a
     “TENSHOPPE,” a California Limited
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     Liability Company; EMORY PARK,
18   INC., a California Corporation; and
     DOES 1-10,
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20   Defendant.
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                                         COMPLAINT
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 1         Design Collection, Inc., by and through its undersigned attorneys, hereby prays
 2   to this honorable Court for relief based on the following:
 3                             JURISDICTION AND VENUE
 4         1.     This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
 5   et seq.
 6         2.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
 7   1338 (a).
 8         3.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
 9   1400(a) in that this is the judicial district in which a substantial part of the acts and
10   omissions giving rise to the claims occurred.
11                                         PARTIES
12         4.     Plaintiff DESIGN COLLECTION, INC is a corporation organized and
13   existing under the laws of the State of California with its principal place of business
14   in Los Angeles, California.
15         5.     Plaintiff is informed and believes and thereon alleges that Defendant
16   LNE, LLC, individually and d/b/a “TENSHOPPE” (“TENSHOPPE”) is a
17   corporation organized and existing under the laws of the State of California with its
18   principal place of business at 3525 W. Carson St., Ste 151 in Torrance, CA 90503.
19         6. Plaintiff is informed and believes and thereon alleges that Defendant
20   EMORY PARK, INC. (“EMORY”) is a corporation organized and existing under
21   the laws of the State of California with its principal place of business at 1169
22   Crocker St., Los Angeles, CA 90021. EMORY is the owner of the Registered
23   Identification Number (“RN”) 150025 issued by the U.S. Federal Trade
24   Commission.
25         7.     Plaintiff is informed and believes and thereon alleges that Defendant
26   DOES 1 through 10, inclusive, are manufacturers and/or vendors of garments to
27   Defendants (as specified above) which DOE Defendants have manufactured and/or
28   supplied and are manufacturing and/or supplying garments comprised of fabric
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 1   printed with Plaintiff’s copyrighted designs (as hereinafter defined) without
 2   Plaintiff’s knowledge or consent or have contributed to said infringement. The true
 3   names, whether corporate, individual or otherwise of Defendant DOES 1-10,
 4   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
 5   by such fictitious names and will seek leave to amend this complaint to show their
 6   true names and capacities when same have been ascertained.
 7         8.     Plaintiff is informed and believes and thereon alleges that at all times
 8   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
 9   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
10   at all times acting within the scope of such agency, affiliation, alter-ego relationship
11   and/or employment; and actively participated in or subsequently ratified and
12   adopted, or both, each and all of the acts or conduct alleged, with full knowledge of
13   all the facts and circumstances, including, but not limited to, full knowledge of each
14   and every violation of Plaintiff’s rights and the damages to Plaintiff proximately
15   caused thereby.
16                           DEFENDANTS’ INFRINGEMENT
17         9.     Plaintiff is the owner of an original two-dimensional artwork used for
18   textile printing, which Plaintiff has allocated the internal design number CS 1397
19   ART 2346. This artwork is, and at all relevant times was, owned exclusively by
20   Plaintiff.
21         10.    Plaintiff applied for and received a United States Copyright Registration
22   for CS 1397 ART 2346, under Registration No. VA 2-133-934.
23         11.    Plaintiff is the owner of an original two-dimensional artwork used for
24   textile printing, which Plaintiff has allocated the internal design number, DC-46303.
25         12.    DC-46303 is a derivative work of CS 1397 ART 2346 which Plaintiff
26   created by using the floral elements founds in CS 1397 ART 2346 and changing the
27   color scheme of CS 1397 ART 2346.
28         13.    The images below show how CS 1397 ART 2346 was altered to create
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 1   DC-46303:
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 3       CS 1397 ART 2346             Extracted Elements                 DC-46303
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16        14.    Prior to the acts complained of herein, Plaintiff sampled and sold fabric
17   bearing CS 1397 ART 2346 and DC-46303 (collectively the “Subject Designs”) to
18   numerous parties in the fashion and apparel industries.
19        15.    Following this distribution of product bearing Subject Designs, Plaintiff
20   learned that EMORY, TENSHOPPE, and certain DOE defendants created, sold,
21   manufactured, caused to be manufactured, imported and/or distributed fabric and/or
22   garments comprised of fabric featuring unauthorized reproductions of Subject
23   Designs or designs which are substantially similar to Subject Designs (hereinafter
24   “Offending Garments”), including but not limited to products sold by TENSHOPPE,
25   bearing the label “Tenshoppe,” under SKUs 3491517; 592471D; 981870H, and RN
26   150025, indicating it was manufactured by or otherwise distributed by EMORY.
27        16.    Comparisons of the Subject Designs and Offending Garments are
28   represented below:
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 1            SUBJECT DESIGNS                       OFFENDING GARMENT
 2                DC-46303                                Garment
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                                        COMPLAINT
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                 SUBJECT DESIGNS                          OFFENDING GARMENT
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                SUBJECT DESIGNS                             OFFENDING GARMENT
 1                  DC-46303                                      Garment

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 1                               FIRST CLAIM FOR RELIEF
 2               (For Copyright Infringement – Against All Defendants, and Each)
 3         17.     Plaintiff repeats, realleges, and incorporates herein by reference as
 4   though fully set forth, the allegations contained in the preceding paragraphs of this
 5   Complaint.
 6         18.     Plaintiff is informed and believes and thereon alleges that Defendants,
 7   and each of them, had access to Subject Designs including, without limitation,
 8   through (a) access to Plaintiff’s showroom and/or design library; (b) access to
 9   illegally distributed copies of the Subject Designs by third-party vendors and/or
10   DOE Defendants, including without limitation international and/or overseas
11   converters and printing mills; (c) access to Plaintiff’s strike-offs and samples, and (d)
12   garments manufactured and sold to the public bearing fabric lawfully printed with
13   Subject Designs by Plaintiff for its customers.
14         19.     Plaintiff is informed and believes and thereon alleges that one or more of
15   the Defendants manufactures garments and/or is a garment vendor. Plaintiff is
16   further informed and believes and thereon alleges that said Defendant(s) has an
17   ongoing business relationship with Defendant retailers, and each of them, and
18   supplied garments to said retailers, which garments infringed Subject Designs in that
19   said garments were composed of fabric which featured an unauthorized print
20   design(s) that were identical or substantially similar to Subject Designs, or were an
21   illegal modification thereof.
22         20.     Plaintiff is informed and believes and thereon alleges that Defendants,
23   and each of them, infringed Plaintiff’s copyright by creating, making and/or
24   developing directly infringing and/or derivative works from Subject Designs and by
25   producing, distributing and/or selling garments which infringe Subject Designs
26   through a nationwide network of retail stores, catalogues, and through on-line
27   websites.
28         21.     Due to Defendants’ acts of infringement, Plaintiff has suffered
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 1   substantial damages to its business in an amount to be established at trial.
 2         22.      Due to Defendants’ acts of infringement, Plaintiff has suffered general
 3   and special damages in an amount to be established at trial.
 4         23.      Due to Defendants’ acts of copyright infringement as alleged herein,
 5   Defendants, and each of them, have obtained direct and indirect profits they would
 6   not otherwise have realized but for their infringement of Subject Designs. As such,
 7   Plaintiff is entitled to disgorgement of Defendants’, and each of their, profits directly
 8   and indirectly attributable to Defendants’ infringement of Subject Designs in an
 9   amount to be established at trial.
10         24.      Plaintiff is informed and believes and thereon alleges that Defendants,
11   and each of them, have committed copyright infringement with actual or
12   constructive knowledge of Plaintiff’s rights such that said acts of copyright
13   infringement were, and continue to be, willful, intentional and malicious, subjecting
14   Defendants, and each of them, to liability for statutory damages under Section
15   504(c)(2) of the Copyright Act in the sum of up to one hundred fifty thousand dollars
16   ($150,000) per infringement.
17                                     PRAYER FOR RELIEF
18         Wherefore, Plaintiff prays for judgment as follows:
19               a. That Defendants, their agents and employees be enjoined from
20                  infringing Plaintiff’s copyrights in any manner, specifically those for
21                  Subject Designs;
22               b. That Plaintiff be awarded all profits of Defendants plus all losses of
23                  Plaintiff, plus any other monetary advantage gained by the Defendants
24                  through their infringement, the exact sum to be proven at the time of
25                  trial, or, if elected before final judgment, statutory damages as available
26                  under the Copyright Act, 17 U.S.C. § 101 et seq.;
27               c. That a trust be imposed over the revenues derived by Defendants, and
28                  each of them, through the sales or distribution of the product at issue;
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1             d. That Plaintiff be awarded its attorneys’ fees as available under the
2                Copyright Act, 17 U.S.C. § 505 et seq.;
3             e. That Defendants, and each of them, account to Plaintiff for their profits
4                and any damages sustained by Plaintiff arising from the foregoing acts
5                of infringement;
6             f. That Plaintiff be awarded pre-judgment interest as allowed by law;
7             g. That Plaintiff be awarded the costs of this action; and
8             h. That Plaintiff be awarded such further legal and equitable relief as the
9                Court deems proper.
10                                     JURY DEMAND
11         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
12   38 and the 7th Amendment to the United States Constitution.
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14                                                  DONIGER / BURROUGHS
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     Dated: August 21, 2024                   By: /s/ Stephen M Doniger
                                                  Stephen M. Doniger, Esq.
17                                                Kelsey M. Schultz, Esq.
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                                                  DONIGER / BURROUGHS
                                                  Attorneys for Plaintiff
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